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                            UNITED STATES DISTRICT COURT

                               DISTRICT OF CONNECTICUT


ADMIRAL INSURANCE COMPANY           :           CIVIL ACTION NO. 3:19-cv-00330-RNC
          Plaintiff,                :
                                    :
v.                                  :
                                    :
COUNTY AGENCY, INC., JOHN GUYS,     :
and FAIRFIELD INSURANCE GROUP, LLC, :           JUNE 24, 2019
            Defendants              :

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(i), Plaintiff, Admiral

Insurance Company (“Plaintiff”), hereby voluntarily dismisses the above-captioned

action in its entirety without prejudice. The defendants have not filed a responsive

pleading or moved for summary judgment.

                                         PLAINTIFF,
                                         ADMIRAL INSURANCE COMPANY


                                         By ____/s/ Andrew L. Baldwin
                                               Joshua L. Milrad
                                               Federal Bar No: CT19321
                                               Andrew L. Baldwin
                                               Federal Bar No: CT 29171
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                                CERTIFICATE OF SERVICE


This is to certify that on June 24, 2019, the foregoing was filed electronically and served by mail
on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s CM/ECF System.


                                                 By: /s/ Andrew L. Baldwin
                                                 Andrew L. Baldwin




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